Case 7:07-cv-00297 Document 4 Filed on 12/17/07 in TXSD Page 1 of 2 29 r]

TOIL

> AO 440 (Rev. 10/93) Summons in a Civil Action

 

RETURN OF SERVICE

DATE
Service of the Summons snd comphint was made by me” DE. <- . 2207

NAME OF SERVER (PRINT) TITLE
LEONA VEL, TT. *PAVLALL Ee. tint $LOGESS SGziar Texas

Check one box below to indicate approptiate method of service

G Served personally upon the defendant Place where served:

 

 

 

 

 

 

G Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein
Name of person with whom the summons and complaint were left:

 

 

G Returned unexecuied:

PK oiher (specily LEFT COprer wit "SAN BA ce “¢ A‘cas) 227 2/0 VEE
, : 7, > aS 2 ee ot =
72 -f Sra Peds ALO Ie 44 7S C J a c :
326 272 All fel FR A hb he te bg 22a that FE ES
STATEMENT OF SERVICE FEES

TRAVEL <9, OO SERVICES gy PLO TOTAL Sy) OD
DECLARATION OF SERVER

 

 
 

 

 

 

 

 

 

1 declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct

Execuedon DELS Qoor =
“Dale Signature of Server aa

2°36 pom
222 -FIA{SCY3 Cours,
Eitaunssu) Ve , TZ 7FS52ZO

Address of Server

United States oistrict
Southern District of faut

DEC ~& 2007

sry

 

 

 

(4) As to who may serve a summons see Rule 4 of the Federal Rules of Civi) Procedure
Case 7:07-cv-00297 Document 4 Filed on 12/17/07 in TXSD Page 2 of 2

4

* AO 440 (Rev. 10/93) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

Southern District of Texas
Qingdao Hisense Import & Export Co., SUMMONS IN A CIVIL CASE
y ;

Progressive Telecom, Inc.,
CASE NUMBER: 7:07-cv-00297

TO: (Name and address of Defendant)

Progressive Telecom, Inc.

c/o Registered Agent Frank G Herrera,
1710 South 28th Avenue

Edinburg, TX 78539

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (nome and address)

C. Thomas Kruse, Esq.
Baker & Hostetler, LP
1000 Louisiana

Suite 2000

Houston, TX 77002-5009

20

an answer to the complaint which is herewith served upon you, within days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

Michae! N. Mitty. [LA 4YO7

 

CLERK DATE

SY yo Wie Weg L

(By) DEPUTY CLE PRK \

() /

 
